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United States District Court,w w § 3 33
WESTERN DISTRICT OF TENNESSEE 113/15 \`FUSD /`?0£ h

Eastern Division ` qu/;§;§f

  

 

 

 

JUDGMENT IN A CIVIL CASE
BAKER ENERGY, INC.,
v.
Gl:RKlN DEVELOPMENT, L.L.C., Case No.: 05-1002-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in

the above-styled matter on 4/8/2005, the Defendant’s Motion To Dismiss is GRANTED,
and this case is hereby D|SM|SSED without prejudice

APPROVED:

@@/MA.W

JAME . TODD
UNIT STATES DISTRICT JUDGE

 

ROBERT R. Di TROLIO

 

 

CLERK
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DATE / ' DEPUTY CLERK

This document entered on the docket sheet in compliance

with Ru|e 58 and/cr 79(3) FRCP Orl q l §§ l log

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Honorable J ames Todd
US DISTRICT COURT

